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                                               April 19, 2022


VIA EMAIL AND ECF

Charles Gerstein
GERSTEIN HARROW LLP
810 7th Street NE, Suite 301
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       Re:      Kent v. PoolTogether, Inc., et al., Case No. 21-CV-6025-FB-CLP

Dear Charlie:

        On behalf of Defendant Compound Labs, Inc. (“Compound Labs”), please find enclosed
Compound Labs’ Notice of Motion and accompanying memorandum of law to dismiss the
Second Amended Complaint (the “Complaint”), or, in the alternative, to strike the Complaint’s
class allegations.

        Pursuant to Section 2.D of the Court’s Individual Motion Practices and Rules, I am only
e-filing this cover letter at this time. I will e-file all motion papers once the motion is fully
briefed.

                                               Respectfully submitted,

                                               /s/ Jason P. Gottlieb

                                               Jason P. Gottlieb

Enclosures

CC:

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